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9
                            UNITED STATES DISTRICT COURT
10
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,               ED CR No. 22-00123-RGK
12
               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
13                                           FOR DEFENDANT AMAN KHAN
                     v.
14
     AMAN KHAN,                              Hearing Date: September 26, 2022
15                                           Hearing Time: 10:00 a.m.
               Defendant.
16

17
          Plaintiff United States of America, by and through its counsel
18
     of record, the Acting United States Attorney for the Central District
19
     of California and Assistant United States Attorney Benjamin D.
20
     Lichtman, hereby files its Sentencing Position for defendant
21
     AMAN KHAN.
22
     //
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1         The government’s Sentencing Position is based upon the attached

2    Memorandum of Points and Authorities, the Presentence Investigation

3    Report, the files and records in this case, and such further evidence

4    and argument as the Court may permit.

5    Dated: September 12, 2022           Respectfully submitted,

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                                         BENJAMIN R. BARRON
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10                                           /s/ Benjamin D. Lichtman
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12                                       Attorneys for Plaintiff
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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          Defendant AMAN KHAN (“defendant”) awaits sentencing after

4    pleading guilty to counts One and Two of the information in United

5    States v. Khan, ED CR No. 22-00123-RGK, which charge defendant with

6    Fraud Involving Aircraft Parts in Interstate and Foreign Commerce, in

7    violation of 18 U.S.C. § 38(a)(1)(C).

8          The government recommends that the Court sentence defendant to

9    41 months of imprisonment and a special assessment of $200.

10   II.   THE PRESENTENCE REPORT (“PSR”)

11         On July 18, 2022, the United States Probation Office (“USPO”)

12   disclosed the Presentence Report in this matter.         The PSR calculated

13   the total applicable offense level as 21 and found that defendant is

14   in Criminal History Category III.       (PSR ¶ 93.)

15         While the government has no objection to the PSR’s calculation

16   of defendant’s offense level, the government does object to the PSR’s

17   calculation of defendant’s criminal history category.          USPO added two

18   criminal history points, finding that “Defendant committed the

19   instant offense while under a criminal justice sentence including

20   supervised release” in previous federal cases.         (PSR ¶ 48.)    The PSR

21   notes that the term of supervised release in those cases concluded on

22   May 3, 2019.   (PSR ¶ 46.)     The offenses to which defendant pleaded

23   guilty in this case occurred in September 2021.         Because the

24   government does not possess evidence that defendant committed fraud

25   while he was on supervised release, the government objects to the

26   addition of two criminal history points.        Without those two

27   additional points, defendant has a criminal history score of three

28   (PSR ¶ 47), which places defendant in criminal history category II.
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1         In the plea agreement, the parties stipulated to the following

2    sentencing factors:

3

4      Base Offense Level:                6                   USSG § 2B1.1(a)(2)

5      Loss > $1.5 million:             +16                USSG § 2B1.1(b)(1)(I)

6      Conscious or reckless risk
       of death or serious bodily        +2               USSG § 2B1.1(b)(16)(A)
7
       injury:
8

9
          With a stipulated adjusted offense level of 24 and a three-level
10
     reduction for acceptance of responsibility pursuant to U.S.S.G.
11
     § 3E1.1, 1 the government’s calculation is the same as that of the
12
     USPO: a total offense level of 21.       However, in light of the
13
     government’s objection relating to defendant’s criminal history, the
14
     government believes the applicable Guidelines range is 41-51 months
15
     in Criminal History Category II.
16
     III. THE GOVERNMENT’S SENTENCING RECOMMENDATION
17
              The government respectfully recommends that the Court impose a
18
     sentence of 41 months, three years of supervised release, and a
19
     special assessment of $200. 2
20
          The government’s recommended sentence is sufficient, but not
21
     greater than necessary, to address the instant offense, taking into
22
     account all the factors the Court must consider under 18 U.S.C.
23
     § 3553(a).     Defendant manufactured and sold fraudulent, counterfeit,
24

25        1 At this time, the government moves for a three-level reduction
     pursuant to U.S.S.G. § 3E1.1 for defendant’s acceptance of
26   responsibility.
          2 The government defers to the PSR’s conclusion that defendant
27
     does not have the ability to pay a fine in addition to restitution.
28   (PSR ¶ 89.)

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1    and unapproved aircraft parts to private companies and government

2    agencies, causing losses to customers of approximately $1.5 million.

3    (PSR ¶¶ 14, 19.)      In mitigation, defendant accepted responsibility

4    shortly after his arrest and pleaded guilty in a pre-indictment

5    resolution.    The Court can take into account various challenging

6    aspects of defendant’s life in childhood and early adulthood, as well

7    as his age.    (PSR ¶¶ 57-58, 59.)

8          A 41-month sentence would be sufficient, but not greater than

9    necessary, to address the instant offenses taking into account all of

10   the factors.

11   IV.   RESTITUTION

12         In the plea agreement, the parties estimated the applicable

13   amount of restitution as approximately $1,529,978, based on losses to

14   four victims.      (Plea Agreement, ¶¶ 8, 12.)    The government has since

15   received a restitution request from an additional victim and passed

16   that information to the defense.         The government anticipates that,

17   prior to sentencing, the parties will arrive a stipulation regarding

18   the total amount of restitution to be ordered in this case.

19   V.    CONCLUSION

20         For the foregoing reasons, the government respectfully requests

21   that the Court impose a sentence of 41 months’ imprisonment, three

22   years of supervised release, a $200 special assessment, and

23   restitution in an amount to be determined.

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